         Case 5:23-cv-00580-FB Document 346 Filed 07/11/24 Page 1 of 8




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION

JULIA HUBBARD                             §
and KAYLA GOEDINGHAUS,                    §
                                          §
            Plaintiffs,                   §
                                          §
v.                                        § CIVIL ACTION NO. 5:23-cv-00580-FB
                                          §
TRAMMELL S. CROW, JR., BENJAMIN           §
TODD ELLER, RICHARD HUBBARD,              §
MELISSA MILLER, SCOTT WOODS,              §
MRUGESHKUMAR SHAH, MICHAEL CAIN, §
COE JURACEK, PHILIP ECOB, H.J. COLE,      §
CODY MITCHELL, KURT KNEWITZ, PAUL         §
PENDERGRASS; RALPH ROGERS, ROBERT §
PRUIT, SCOTT BRUNSON, CASE GROVER,        §
RICHARD BUTLER, MICHAEL HYNES, JR.,       §
SHAWN MAYER, JADE MAYER, AARON            §
BURLINGAME and RCI HOSPITALITY            §
HOLDINGS, INC.,                           §
                                          §
            Defendants.                   §
______________________________________________________________________________

                    DEFENDANT MRUGESHKUMAR SHAH’S
      MOTION TO DISMISS PLAINTIFF’S SECOND AMENDED COMPLAINT FOR
       VIOLATIONS OF THE TRAFFICKING VICTIMS PROTECTION ACT AND
       RACKETEERING INFLUENCED AND CORRUPT ORGANIZATIONS ACT,
                       INCLUSIVE OF BRIEF IN SUPPORT
______________________________________________________________________________

TO THE HONORABLE JUDGE OF SAID COURT:

       MRUGESHKUMAR SHAH’S (“Dr. Shah”) files this his Motion to Dismiss, Inclusive of

Brief in Support (“Motion”) in response to Plaintiffs’ Second Amended Complaint [ECF No. 292]

(the “Second Amended Complaint”). In support of the Motion, Defendants would show the Court:




______________________________________________________________________________
DEFENDANT’S MOTION TO DISMISS INCLUSIVE OF BRIEF IN SUPPORT                            Page 1
             Case 5:23-cv-00580-FB Document 346 Filed 07/11/24 Page 2 of 8




                                            I. SUMMARY

        1.      The Second Amended Complaint makes it readily apparent that even if the false

allegations against Dr. Shah were true, the claims fail. Counts One and Two are not private causes

of action but criminal statutes that cannot bring civil liability and must be dismissed. Counts One

and Two are barred at least in part by the statute of limitations, and Counts Three and Four are barred

in their totality by the statute of limitations. For example, taking Plaintiffs’ allegations as true,

Plaintiff Goedinghaus does not even allege to claim to have had any encounter with Dr. Shah, while

Plaintiff Hubbard’s last allegation of any interaction with Dr. Shah was in 2016, based upon the

purported prescription list in the Second Amended Complaint. Further, Plaintiff Hubbard’s assertion

that she informed Dr. Shah at the time that he should not prescribe whatever was prescribed

completely guts any arguments in support of equitable tolling under the discovery rule or fraudulent

concealment doctrines. When coupled with the allegation in the Second Amended Complaint that

Dr. Shah was imprisoned for 42-months, the plausibility of the allegations, even when given the

favorable presumptions, is absent. Accordingly, Dr. Shah requests that this Motion to Dismiss be,

in all thing GRANTED and the claims alleged herein dismissed with prejudice to refiling the same.

                     II. LEGAL STANDARD ON MOTION TO DISMISS

        2.      To survive a motion to dismiss, a complaint must include "sufficient factual matter,

accepted as true, to `state a claim to relief that is plausible on its face.'" Ashcroft v. Iqbal, 556 U.S.

662, 678, 129 S.Ct. 1937, 173 L.Ed.2d 868 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S.

544, 570, 127 S.Ct. 1955, 167 L.Ed.2d 929 (2007)). In reviewing a motion to dismiss, the court

must accept as true all well-pleaded facts, construing the allegations in the light most favorable to

the plaintiff. Heinze v. Tesco Corp., 971 F.3d 475, 479 (5th Cir. 2020). Nothing, however, requires

______________________________________________________________________________
DEFENDANT’S MOTION TO DISMISS INCLUSIVE OF BRIEF IN SUPPORT                                        Page 2
             Case 5:23-cv-00580-FB Document 346 Filed 07/11/24 Page 3 of 8




the court to accept as true `conclusory allegations, unwarranted factual inferences, or legal

conclusions.' Id.

                            III. ARGUMENT AND AUTHORITIES

A.     Counts One and Two of the Second Amended Complaint are Not a Private Causes of
       Action and Therefore Fail to State a Claim upon which Relief can be Granted.

        3.      Count One of the Second Amended Complaint is brought under 18 U.S.C. §1591,

while Count Two of the Second Amended Complaint is brought under 18 U.S.C. §1589. See the

Second Amended Complaint at ¶¶396-403. The respective provisions, however, pertain to criminal

penalties, and do not authorize a private cause of action. AB v. Marriott International, Inc., 455 F.

Supp. 3d 171,181 (E.D.Pa. 2020) ("Section 1591 of the Act imposes criminal liability for sex

trafficking of children, or of any person by force, fraud, or coercion, to engage in a commercial sex

act.”) (emphasis added); HAKA v. Mecklenburg County, No. 3:12-CV-100 (W.D. N.C. May 1, 2012)

("For this cause of action, Plaintiff cites two criminal violations, 18 U.S.C. § 1203, which prohibits

hostage-taking, and 18 U.S.C. § 1591, which outlaws sex trafficking. These are criminal statutes

enforced by the United States Attorney's Office and do not carry a private right of action."); Brown

v. U.S. Dist. Ct. for the E. Dist. of Pa., Civ. A. No. 18-747 (E.D. Pa.) (Apr. 9, 2018 Order at 6

(dismissing claims under 18 U.S.C. § 1589 as "meritless and frivolous")), aff'd, 740 F. App'x 239,

240 (3d Cir. 2018) (per curiam).

        4.      Inasmuch as neither 18 U.S.C. §§1589 and 1591 provide for a private cause of action,

Counts One and Two of the Second Amended Complaint fail to state a claim upon which relief can

be granted and such Counts must be dismissed.




______________________________________________________________________________
DEFENDANT’S MOTION TO DISMISS INCLUSIVE OF BRIEF IN SUPPORT                                     Page 3
             Case 5:23-cv-00580-FB Document 346 Filed 07/11/24 Page 4 of 8




B.     Counts One and Two of the Second Amended Complaint are Barred in Part by the Ten
       Year Statute of Limitations.

        5.      Plaintiffs’ Count One and Count Two of the Second Amended Complaint are at least

partially barred, if they are allowed to proceed at all, under the applicable 10-year statute of

limitations. Plaintiff Hubbard alleges that Dr. Shah had involvement in the purported trafficking in

2013 through 2016. See the Second Amended Complaint at ¶¶ 133 and 139. The applicable statute

provides, in pertinent part, that "no action may be maintained under [§ 1595(a)] unless it is

commenced not later than . . . 10 years after the cause of action arose." 18 U.S.C. § 1595(c).

Accordingly, Plaintiffs are barred from pursuing claims against Dr. Shah for the allegations in Count

One and Count Two as to purported violations that occurred before March 21, 2014, ten years prior

to the filing of her Second Amended Complaint in this case.

C.     Counts Three and Four of the Second Amended Complaint, Related to RICO, are
       barred by the Four-Year Statute of Limitations.

        6.      Plaintiff asserts claims against Dr. Shah under the civil RICO statute. See the Second

Amended Complaint at ¶¶404-421. The statute of limitations for a claim under RICO is four years.

Lewis v. Danos, 83 F. 4th 948, 955 (5th Cir. 2023) (citing Agency Holding Corp. v. Malley–Duff &

Assocs., 483 U.S. 143, 156 (1987)). The Fifth Circuit explained how it determines when the statute

of limitations commences as follows:

                It is well established that our circuit abides by the rules of injury
                discovery and separate accrual for RICO claims. "Under the `injury
                discovery' rule, a civil RICO claim accrues when the plaintiff
                discovers, or should have discovered, the injury" and, "[w]hen a
                pattern of RICO activity causes a continuing series of separate
                injuries, the `separate accrual' rule allows a civil RICO claim to
                accrue for each injury when the plaintiff discovers, or should have
                discovered, that injury." Love v. Nat'l Med. Enters., 230 F.3d 765,


______________________________________________________________________________
DEFENDANT’S MOTION TO DISMISS INCLUSIVE OF BRIEF IN SUPPORT                                    Page 4
             Case 5:23-cv-00580-FB Document 346 Filed 07/11/24 Page 5 of 8




                773 (5th Cir.) (quoting Bankers Tr. Co. v. Rhoades, 859 F.2d 1096,
                1102 (2d Cir. 1988)).

Lewis, 83 F. 4th at 955.

        7.      In analyzing when the statute of limitations commences, the Fifth Circuit made a

point to state that it does not matter when the alleged racketeering enterprise was discovered by the

plaintiff, but rather when the plaintiff learned of her injury. Id. In Lewis, the Fifth Circuit held that

a motion dismiss was properly granted because the allegations made it clear that the plaintiff was

aware of her injuries prior to when she learned of the enterprise and reiterated that the date plaintiff

was aware of her injuries was when the clock started for purposes of the statute of limitations. Id.

        8.      In the case at bar, the pleadings on their face make it apparent that claims by the

Plaintiff, even if they were taken as true, are more than four years old. In the Second Amended

Complaint, Plaintiff Hubbard alleges that her visits with Dr. Shah occurred in 2013 and during

summer of 2014. See the Second Amended Complaint at ¶139. The dates on the purported

prescription lists incorporated into the Second Amended Complaint, even if true, contain no dates

after March 21, 2020, the four-year period prior to the date the Second Amended Complaint was

filed. See the Second Amended Complaint at ¶139. Further, Plaintiff Hubbard specifically alleges

that at the time these purported appointments with Dr. Shah occurred, she informed him that the

medicine was not necessary and was being used improperly. See the Second Amended Complaint

at ¶135. Thus, Plaintiff Hubbard admits that she knew of the injuries about which she complains

2013 and thereafter. See the Second Amended Complaint at ¶¶135 and 340.

        9.      Even more telling about the baselessness of Plaintiffs’ claims against Dr. Shah is that

fact that Plaintiff Goedinghaus does not specifically allege to have ever been treated by or seen by


______________________________________________________________________________
DEFENDANT’S MOTION TO DISMISS INCLUSIVE OF BRIEF IN SUPPORT                                       Page 5
          Case 5:23-cv-00580-FB Document 346 Filed 07/11/24 Page 6 of 8




Dr. Shah. See generally, the Second Amended Complaint. Further, the Second Amended Complaint

specifically alleges that Dr. Shah was serving a forty-two month sentence in prison at the time of

filing. See the Second Amended Complaint at ¶133.

       10.     Based upon the foregoing, the statute of limitations bars Counts 3 and 4 of the Second

Amended Complaint, alleging violations under RICO, must be dismissed with prejudice.

D.     Improper Shotgun/Group Pleading.

        11.     Dr. Shah further argues that the Second Amended Complaint should be dismissed

under Rules 8 and 12(b)(6) because it fails to attribute specific factual allegations to Dr. Shah and

is therefore an impermissible group pleading and/or shotgun pleading. Fed. R. Civ. P. 8 and 12(b)(6).

Though there is an attempt to cast specific allegations, there are no specific allegations regarding

how Dr. Shah had any interactions with or involvement with Plaintiff Goedinghaus because the time

periods are inconsistent. See generally, the Second Amended Complaint. There are no direct

allegations to support any claim by Plaintiff Goedinghaus against Dr. Shah, and because he is just

included in the group allegations and Dr. Shah is just included with the “Medical Doctor

Defendants,” all of her claims against Dr. Shah must be dismissed with prejudice. See the Second

Amended Complaint at ¶14-16. For example, in Paragraph 15, it is clear that the allegation is that

Dr. Shah only saw Plaintiff Hubbard, not the other named Plaintiff. See the Second Amended

Complaint at ¶14-16. Further, the legal conclusion cast as an allegation that the “Medical Doctor

Defendants were informed by either Hubbard, Goedinghaus, or both that the drugs the Medical

Doctor Defendants were prescribing were being used for an improper purpose, that Hubbard and

Goedinghaus were being abused by Rick and that Hubbard and Goedinghause needed help” is legally

insufficient. See the Second Amended Complaint at ¶15. The conclusory allegations regarding the

______________________________________________________________________________
DEFENDANT’S MOTION TO DISMISS INCLUSIVE OF BRIEF IN SUPPORT                                    Page 6
          Case 5:23-cv-00580-FB Document 346 Filed 07/11/24 Page 7 of 8




“Medical Doctor Defendants” set forth in paragraphs 129 through 133 fail to comply with the

Federal Rules of Civil Procedure, fail to state a claim with any particularity, and must be dismissed.

Such improper group pleading fails to identify which of the Plaintiffs notified which, if any ,of the

Medical Doctor Defendants as alleged. Heinze v. Tesco Corp., 971 F.3d 475, 479 (5th Cir. 2020).

Moreover, when read in conjunction with remainder of the pleadings, it is readily apparent that

Plaintiff Goedinghause does not and cannot even allege any direct cause of action against Dr. Shah.

Specifically, paragraph 133 clarifies that the only specific allegation against Dr. Shah is from

Plaintiff Hubbard. See the Second Amended Complaint at ¶133.

        12.     Moreover, despite Dr. Shah not being identified as having been involved in Wire

Fraud or Witness Tampering, Counts Three includes Dr. Shah, making this cause proper for

dismissal. Compare the Second Amended Complaint at ¶388 with ¶¶411. In addition, in Count

Four, despite alleging that Dr. Shah had been in prison for 42 months in paragraph 133 of the Second

Amended Complaint, the allegation that all of the Medical Doctor Defendants, inclusive of Dr. Shah,

were involved in the purported conspiracy is not plausible on its face. Compare ¶ with ¶418-419.

The alleged participation of Dr. Shah appears to be prescribing controlled substances, which could

not have occurred during the 42 month period while Dr. Shah was incarcerated (as alleged in ¶133)

and there are no specific allegations against Dr. Shah in the Second Amended Complaint after 2016.

See the Second Amended Complaint at ¶¶418; see also the Second Amended Complaint, generally.

       13.     As currently pled, Dr. Shah cannot ascertain the specific allegations made against him

in this cause, as opposed to the improper group pleading contained in the Second Amended

Complaint, so as to allow him to make a meaningful response to the allegations contained therein.



______________________________________________________________________________
DEFENDANT’S MOTION TO DISMISS INCLUSIVE OF BRIEF IN SUPPORT                                     Page 7
          Case 5:23-cv-00580-FB Document 346 Filed 07/11/24 Page 8 of 8




                                           IV. PRAYER

       WHEREFORE, PREMISES CONSIDERED, Defendants pray that the Court GRANT this

Motion, dismiss Plaintiff’s lawsuit or, in the alternative, dismiss the claims barred by the statute of

limitations and causes of action not properly pleaded or supported. Defendants further pray for any

such other and further relief at law or in equity to which Defendants would show themselves justly

entitled or that the Court deems just and appropriate.

                                                       Respectfully Submitted,

                                                       SHEILS WINNUBST
                                                       A Professional Corporation

                                                       By:     /s/ Latrice E. Andrews
                                                               T. Craig Sheils
                                                               State Bar No. 18187350
                                                               Latrice E. Andrews
                                                               State Bar No. 24063984

                                                       1100 Atrium II
                                                       1701 N. Collins Boulevard
                                                       Richardson, Texas 75080
                                                       Telephone: (972) 644-8181
                                                       Facsimile: (972) 644-8180
                                                       Email: craig@sheilswinnubst.com
                                                       Email: latrice@sheilswinnubst.com

                                                       ATTORNEYS FOR DEFENDANT
                                                       MRUGESHKUMAR SHAH

                                   CERTIFICATE OF SERVICE

         In accordance with Fed. R. Civ. P. 5(b)(2)(E) and (b)(3), I hereby certify that a true and
correct copy of the above and foregoing Defendant’s Motion to Dismiss Inclusive of Brief in Support
was served upon all counsel of record, via electronic service on this 11th day of July, 2024. Notice
of this filing will be sent to all parties by operation of the court’s electronic filing system.

                                                       /s/ Latrice E. Andrews
                                                       Latrice E. Andrews

______________________________________________________________________________
DEFENDANT’S MOTION TO DISMISS INCLUSIVE OF BRIEF IN SUPPORT                                      Page 8
